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                                               Certificate Number: 15557-FLM-CC-037251286


                                                              15557-FLM-CC-037251286




                    CERTIFICATE OF COUNSELING

I CERTIFY that on March 10, 2023, at 7:06 o'clock PM EST, Xavier C.
Washington, II received from Urgent Credit Counseling, Inc., an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Middle District of
Florida, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   March 10, 2023                         By:      /s/Patience Mutiso


                                               Name: Patience Mutiso


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
